Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.336 Page 1 of 21



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 12
                    IN THE UNITED STATES DISTRICT COURT
 13
                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 14
      BRIAN P. MANOOKIAN,                     Case No.: 21CV0562 WQH BLM
 15
                  Plaintiff,                  PLAINTIFF’S RESPONSE IN
 16                                           OPPOSITION TO DEFENDANTS’
            v.                                MOTION TO DISMISS
 17
      BONA LAW P.C., JAROD BONA,              FED R. CIV. P. 12(b)(6)
 18   DAVID CODELL, AARON GOTT,
      LUKE HAASKAMP, AND LUIZ                 Date: Sept 27, 2021
 19   BLANQUEZ,                               Hon. Judge William Q. Hayes
 20               Defendants.                 “NO ORAL ARGUMENT UNLESS
                                              REQUESTED BY THE COURT”
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             PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.337 Page 2 of 21



  1
  2                                           TABLE OF CONTENTS
  3
  4   I.    INTRODUCTION ....................................................................................... 3
      II.   FACTUAL BACKGROUND ...................................................................... 3
  5
      A.    The Bona Defendants Hold Themselves Out as Specialists in Antitrust and
  6   Appellate Law, Including the Appeal Timing Question at Issue in this Case ....... 3
  7   B.    The Bona Defendants File Mr. Manookian’s Antitrust Suit ........................ 5
      C.    The District Court Dismisses the Antitrust Suit .......................................... 6
  8
      D.    Mr. Manookian’s Appeal Is Dismissed After the Bona Defendants Fail to
  9   Timely File Notice of Appeal................................................................................. 6
 10   E.    The Bona Defendants Continue to Display Ignorance About Appellate
 11   Timing Rules .......................................................................................................... 7
      III. LEGAL STANDARD .................................................................................. 7
 12
      IV. THE BONA DEFENDANTS CANNOT RESOLVE DISPUTED ISSUES
 13   OF FACT AT THE PLEADING STAGE ............................................................. 8
 14   A.    The Complaint Plausibly Alleges that the Bona Defendants Breached
      Duties Owed to their Client.................................................................................... 8
 15
      B.    The Bona Defendants’ Post Hoc Interpretation of Applicable Law is Both
 16   Self-Serving and Misguided ................................................................................... 9
 17   C.    Whether the Bona Defendants Exercised Professional Judgment in
 18
      Declining to Appeal Is the Central Dispute in this Case ...................................... 11
      D.    Well-Pleaded Allegations Cannot Be Defeated by Disputed Matters
 19
      Outside the Pleadings ........................................................................................... 14
 20   E.    The Complaint Plausibly Alleges that the Bona Defendants’ Caused Mr.
 21   Manookian’s Damages ......................................................................................... 16
      V.    THE COMPLAINT PLEADS A CLAIM FOR BREACH OF
 22
      FIDUCIARY DUTY ............................................................................................ 18
 23   VI. THE COMPLAINT PLEADS CLAIMS AGAINST BLANQUEZ AND
 24   HASSKAMP ........................................................................................................ 19
      VII. CONCLUSION .......................................................................................... 20
 25
 26
 27
 28
                                                                 2
                PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.338 Page 3 of 21



  1         I.       INTRODUCTION
  2               In the face of well-pleaded allegations of legal negligence and breach of
  3   fiduciary duty stemming from their failure to file a timely appeal—leading to the
  4   permanent dismissal of Plaintiff Brian Manookian’s valuable antitrust case—
  5   Defendants Bona Law P.C., Jarod Bona, David Codell, Aaron Gott, Luke
  6   Hasskamp, and Luiz Blanquez (collectively, the “Bona Defendants”) now take
  7   positions contrary to those they maintained in litigation and promoted to Mr.
  8   Manookian. Their motion to dismiss and accompanying memorandum (“Mem.”)
  9   fails to identify any deficiencies in the Complaint, instead relying on self-serving,
 10   after-the-fact legal analysis and unwarranted, unsupported inferences to litigate
 11   disputed factual questions prematurely at the pleading stage.
 12               Far from “Monday-morning quarterbacking,” Mr. Manookian seeks to hold
 13   his counsel accountable for failing to act reasonably and prudently in protecting his
 14   interests when they declined to file a notice of appeal based on a widely recognized
 15   exception to the final judgment rule that has been known to courts and purported
 16   appellate specialists for several decades. Because the Complaint plausibly states
 17   allegations of negligence and breach of fiduciary duty that should be tested in
 18   discovery, the Bona Defendants’ motion should be denied.
 19         II.      FACTUAL BACKGROUND
 20
                     A.    The Bona Defendants Hold Themselves Out as Specialists in
 21                        Antitrust and Appellate Law, Including the Appeal Timing
 22                        Question at Issue in this Case
 23               The Bona Defendants are a California-based law firm, Bona Law PC (“Bona
 24   Law”), and five attorneys who are or were affiliated with the firm. Compl., ¶¶ 7-
 25   14.
 26               The Bona Defendants have repeatedly and publicly advertised their
 27   expertise in federal antitrust and appellate litigation. Bona Law lists antitrust and
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                  PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.339 Page 4 of 21



  1   appellate law among their top “specialties.”1 Bona Law Principal Jarod Bona
  2   advertises that he has “been an appellate litigator [his] entire career,” clerking in
  3   the U.S. Court of Appeals for the Eighth Circuit, working in Gibson Dunn’s
  4   Washington, DC, appellate group, and “participat[ing] in many appellate matters.”2
  5   The Bona Defendants routinely advertise their services as “appellate lawyers” and
  6   “attorneys with appellate experience.”3 In providing these services, Bona Law
  7   promises to give its clients “the highest level of advice and advocacy.”4
  8          The Bona Defendants have also publicly advertised their understanding of
  9   the appellate review timing issues central to this case. On December 13, 2017,
 10   Defendant Aaron Gott, writing on behalf of Bona Law, posted a lengthy article on
 11   Bona Law’s “The Antitrust Attorney Blog.”5                In it, he discussed SolarCity
 12   Corporation v. Salt River Project Agricultural Improvement and Power District,
 13   859 F.3d 720 (9th Cir. 2017), cert. granted sub. nom Salt River Project Agricultural
 14   Improvement and Power District v. Tesla Energy Operations Inc. (No. 17-368), an
 15   antitrust case in which the United States Supreme Court endeavored to resolve a
 16   circuit split on whether orders denying state-action immunity to public entities are
 17   immediately appealable under the collateral-order doctrine. Gott took the position
 18   that an order denying a motion to dismiss on state-action immunity grounds should
 19   not be immediately appealable. It should not, he argued, have to “await a final
 20
 21   1
        See Bona Law PC LinkedIn page, available at https://www.linkedin.com/company/bona-
 22   law-pc (describing Bona Law as a “boutique antitrust law firm” and listing antitrust and
      appellate law as “specialties”) (accessed Sept. 9, 2021).
      2
 23     Jarod Bona, “Why You Should Consider Filing an Amicus Brief in an Appellate Case,”
      March 27, 2021, available at https://www.theantitrustattorney.com/why-you-should-consider-
 24   filing-an-amicus-brief-in-an-appellate-case/#more-856.
      3
        Jarod Bona, “Three Reasons to Hire an Appellate Lawyer,” May 29, 2021, available at
 25
      https://bit.ly/2X0N7xr (accessed Sept. 9, 2021).
      4
 26     IR Global, Jarod Bona Advisor profile, available at https://bit.ly/3neGpOX (accessed Sept. 9,
      2021).
      5
 27     Aaron Gott, “The US Supreme Court Should Affirm the Ninth Circuit in SolarCity: State-
      Action-Immunity Defendants Have No Right to an Immediate Appeal,” Dec. 13, 2017,
 28   available at https://bit.ly/3BVjEnf.
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              PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.340 Page 5 of 21



  1   decision just like most issues raised on a motion to dismiss.”6 Gott did not mention
  2   any other exceptions to the ordinary rule that only final judgments can be appealed.
  3               B.   The Bona Defendants File Mr. Manookian’s Antitrust Case
  4           Brian Manookian is a Tennessee attorney who, since approximately 2015,
  5   has focused his legal practice on the representation of plaintiffs injured by the
  6   medical malpractice of physicians, hospitals, and health care providers. Compl.,
  7   ¶¶ 15-16.
  8           On March 20, 2019, Mr. Manookian retained the Bona Defendants to
  9   represent him in a federal antitrust lawsuit (“the Antitrust Suit”) on Mr.
 10   Manookian’s behalf seeking recovery of significant economic, non-economic, and
 11   punitive damages due to the emergent suspension of Mr. Manookian’s law license
 12   by a quasi-private, quasi-public state board substantially comprised of Mr.
 13   Manookian’s competitors in the legal marketplace. Id., ¶¶ 17, 19. The Antitrust
 14   Suit, styled Manookian v. Flippin, et al. (No. 19-cv-00350) was filed on April 29,
 15   2019, in the United States District Court for the Middle District of Tennessee. Id.,
 16   ¶ 19.
 17           Before filing the Antitrust Suit, the Bona Defendants investigated the factual
 18   and legal bases for the case and concluded that it had merit and was non-frivolous.
 19   Id., ¶ 20. They repeatedly certified the merits of the Antitrust Suit, frequently
 20   telling Mr. Manookian his claims were meritorious, issuing a laudatory press
 21   release about the meritorious case, and posting at least one article about the case to
 22   the Bona Law website. Id., ¶ 21.7
 23
 24
 25   6
       Id.
      7
 26    See Jarod Bona, “Bona Law Sues Tennessee Lawyers on State Board for Lawyer Suspension
      Violating Antitrust Laws and US Constitution,” May 7, 2019, available at
 27   https://bit.ly/3yUO9b6; Bona Law Press Release, “Bona Law Challenges Lawyer’s State Bar
      Suspension under Antitrust Law and Constitution,” June 5, 2019, available at
 28   https://bwnews.pr/3z11iiK.
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              PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.341 Page 6 of 21



  1             C.     The District Court Dismisses the Antitrust Suit
  2         On February 28, 2020, the United States District Court for the Middle
  3   District of Tennessee issued an order dismissing Mr. Manookian’s claims for
  4   damages in the Antitrust Suit and staying his claims for declaratory and injunctive
  5   relief. Id., ¶ 22; (Doc. No. 5-2, Ex. 11). The Court directed the clerk to
  6   administratively close the case. Id.
  7         Shortly after the issuance of the February 28, 2020 order, the Bona
  8   Defendants assured Mr. Manookian that the order was legally unsound and should
  9   be appealed. Compl., ¶ 20. The Bona Defendants expressly stated to Mr.
 10   Manookian in at least two (2) phone calls that United States District Court Judges
 11   are frequently unfamiliar with the nuances of antitrust law and that the Negligently
 12   Appealed Order would, in the view of the Bona Defendants, be overturned on
 13   appeal. Id.
 14             D.     Mr. Manookian’s Appeal Is Dismissed After the Bona
 15                    Defendants Fail to Timely File Notice of Appeal
 16         The Bona Defendants subsequently assured Mr. Manookian on multiple
 17   occassions that the February 28, 2020 order was not final and therefore not subject
 18   to the thirty (30) day deadline for appeal. As a result, the Bona Defendants only
 19   filed a Notice of Appeal for the order one hundred and seventy-seven (177) days
 20   later. Id., ¶¶ 21-22.
 21         On January 5, 2021, the United States Court of Appeals for the Sixth Circuit
 22   issued an opinion finding that the Bona Defendants, on behalf of Mr. Manookian,
 23   had missed the deadline for filing the Notice of Appeal by one hundred and
 24   seventy-seven (177) days. Id., ¶ 23. As a result, Mr. Manookian’s substantial
 25   claims for damages (the merit of which the Bona Defendants attested to in scores
 26   of emails, press releases, laudatory articles, and federally filed pleadings) have
 27   been forever waived, lost, and foregone. Id., ¶ 24.
 28
                                               6
             PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.342 Page 7 of 21



  1          Following the issuance of the Sixth Circuit’s opinion, David Codell and
  2   Jarod Bona wrote to Brian Manookian falsely and fraudulently characterizing the
  3   Sixth Circuit’s holding in an attempt to evade liability for their own negligence
  4   and gross recklessness. The Bona Defendants additionally stated that any further
  5   attempts to appeal would be futile. Id., ¶ 25.
  6                E.    The Bona Defendants Continue to Display Ignorance About
  7                      Appellate Timing Rules
  8          To this day, the Bona Defendants advertise their lack of familiarity with
  9   exceptions to the final judgment rule, misleadingly advising potential clients:
 10          FCRP 54(b) states that a judgment or order is not final when it
 11          “adjudicates fewer than all the claims or the rights and liabilities of
 12          fewer than all the parties” in a lawsuit. In other words, if any part of
 13          the lawsuit is not resolved after the entry of the order or judgment,
 14          that order or judgment is not “final.” This is also known as an
 15          interlocutory order.8
 16   This information, which is contained in a lengthy section of the Bona Defendants’
 17   website that purports to provide “legal resources” about “calculating the deadline
 18   for a notice of appeal in federal court,” fails even to note the existence of exceptions
 19   to the “final judgment rule”—including the “effectively out of court” exception
 20   that the Bona Defendants failed to recognize on Mr. Manookian’s behalf.
 21       III.     LEGAL STANDARD
 22          In considering a motion to dismiss for failure to state a claim under Rule
 23   12(b)(6), the Court must accept all factual allegations in the complaint as true,
 24   construe the pleadings in the light most favorable to the nonmoving party, and draw
 25   all reasonable inferences in favor of the plaintiff. Ass’n for Los Angeles Deputy
 26
      8
 27    Bona Law PC website, “Legal Resources” section, “Calculating the Deadline for a Notice of
      Appeal in Federal Court,” available at https://www.bonalaw.com/calculating-the-deadline-for-
 28   a-notice-of-appeal-in-federal-court.html (accessed Sept. 8, 2021).
                                                      7
                 PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.343 Page 8 of 21



  1   Sheriffs v. County of Los Angeles, 648 F.3d 986 (9th Cir. 2011). Plaintiffs succeed
  2   in stating a claim for relief by pleading “factual content that allows the court to
  3   draw the reasonable inference that the defendant is liable for the misconduct
  4   alleged.” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (citing Bell Atlantic Corp.
  5   v. Twombly, 550 U.S. 544, 570 (2007)).
  6       IV.     THE BONA DEFENDANTS CANNOT RESOLVE DISPUTED
  7               ISSUES OF FACT AT THE PLEADING STAGE
  8               A.    The Complaint Plausibly Alleges that the Bona Defendants
  9                     Breached Duties Owed to their Client
 10          The Bona Defendants ask the Court to find—as a matter of law—that they
 11   are entitled to “judgmental immunity” because they exercised a reasonable degree
 12   of skill and care in “choosing to file a Rule 54(b) motion” rather than prudently
 13   appealing the February 28, 2020 order, in case the well-recognized “effectively out
 14   of court” doctrine controlled and the February 28, 2020 order was final and
 15   appealable. This request is based on nothing more than the unsworn argument of
 16   counsel and self-serving, after-the-fact legal analysis concerning the state of Sixth
 17   Circuit precedent. (See Mem. at 18-21.) In the face of well-pleaded allegations of
 18   negligence, in other words, the Bona Defendants ask the Court to substitute its
 19   judgment for the jury’s on the ultimate issue in the case—whether their failure to
 20   appeal was negligent or demonstrated reasonable skill and care—before any
 21   discovery has been taken.
 22          The Complaint alleges that “the Bona Defendants “assured Mr. Manookian
 23   that the [February 28, 2020] Order was legally unsound and should be appealed.”
 24   Compl., ¶ 23.      It alleges that the Bona Defendants expressly stated to Mr.
 25   Manookian in at least two phone calls that “United States District Court Judges are
 26   frequently unfamiliar with the nuances of antitrust law and that the [February 28,
 27   2020] Order would, in the view of the Bona Parties, be overturned on appeal.” Id.
 28
                                                 8
                PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.344 Page 9 of 21



  1   It alleges that the Bona Defendants assured Mr. Manookian that the Order “was not
  2   final and therefore not subject to the thirty (30) day deadline for appeal,” and that
  3   they therefore didn’t appeal it. Id., ¶¶ 24-25. It alleges that after Sixth Circuit
  4   dismissed Mr. Manookian’s appeal, Defendants Codell and Bona wrote to Mr.
  5   Manookian “falsely and fraudulently characterizing the Sixth Circuit’s holding in
  6   an attempt to evade liability for their own negligence and gross recklessness,” and
  7   stating that any further attempts to appeal would be futile. Id., ¶ 28. And it alleges
  8   that these actions breached the Bona Defendants’ fiduciary duty and duty of care
  9   to Mr. Manookian, harming him. Id. ¶¶ 29-37. These allegations plainly, and
 10   plausibly, state claims for legal negligence and breach of fiduciary duty—claims
 11   that can be substantiated through factual and expert proof in discovery and weighed
 12   by a fact-finder.
 13          B.     The Bona Defendants’ Post Hoc Interpretation of Applicable
 14                 Law is Both Self-Serving and Misguided
 15          Because they cannot challenge the adequacy of Mr. Manookian’s pleading,
 16   the Bona Defendants attempt to disprove—at the pleading stage—the ultimate issue
 17   in the case: whether their actions constituted negligence. In so doing, they attempt
 18   to relitigate the very issues they mishandled in the Sixth Circuit, apparently to
 19   suggest that it was aberrant, even unforeseeable, for the Court of Appeals to
 20   consider the February 28, 2020 dismissal and stay order final and appealable.
 21          But the Bona Defendants overstate the novelty of the Sixth Circuit’s
 22   holding, which was perfectly consistent with established precedent. It is true, and
 23   well known to any federal practitioner, that appellate courts are generally
 24   authorized only to consider appeals from final decisions of district courts—the so-
 25   called “final judgment rule.” 28 U.S.C. § 1291. But among the handful of
 26   exceptions to the rule is the “effectively out of court” doctrine, which holds that
 27   when a stay, often entered pursuant to an abstention doctrine, effectively ends a
 28   litigant’s rights in the federal forum, it “amounts to a dismissal of the suit,” and an
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              PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.345 Page 10 of 21



   1   appeal should be considered even if the order does not strictly amount to a final
   2   judgment. See Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1,
   3   10 (1983).
   4          The “effectively out of court” exception is intended to protect plaintiffs—
   5   including Mr. Manookian—who seek to have federal rights redressed in a federal
   6   forum. It recognizes that by abstaining a district court may give state-court
   7   interpretations of federal constitutional issues res judicata effect; therefore, it
   8   encourages appeals from otherwise non-final orders where the state and federal
   9   proceedings involve issues that are “substantially the same,” not just “identical.”
  10   Freed v. J.P. Morgan Chase Bank, N.A., 756 F.3d 1013, 1019 (7th Cir. 2014). The
  11   “state-court action may not resolve everything,” but the “key question for
  12   jurisdictional purposes is whether the ‘object of the stay order is to require all or an
  13   essential part of the federal suit to be litigated in a state forum.’” Loughran v. Wells
  14   Fargo Bank, N.A., 2 F.4th 640, 645 (7th Cir. 2021) (quoting Moses Cone, 460 U.S.
  15   at 10-11 n.11) (emphasis supplied in Loughran). Because Mr. Manookian could
  16   assert his remaining constitutional claims only in the ongoing state proceedings, he
  17   was effectively out of federal court, making federal appellate review his only viable
  18   option to protect his interest in having federal courts review his constitutional
  19   claims. See Manookian v. Flippin, No. 20-5979, 2021 WL 688841, at *2 (6th Cir.
  20   Jan. 5, 2021).9
  21
  22
  23
       9
         The Bona Defendants concede that their hypothetical arguments about Mr. Manookian’s
  24   constitutional claims being left unadjudicated in state court failed to prevent the Sixth Circuit
       from rejecting their untimely appeal. (Mem. at 20.) More importantly, these arguments only
  25
       showcase the Bona Defendants’ unfamiliarity with the “effectively out of court” exception: it
  26   is applicable not merely where a state court will definitely resolve every remaining issue with
       preclusive effect, but also where a federal district court enters a stay with the expectation that
  27   the state litigation would “largely” resolve the federal litigation—even if “there remains some
       chance that the case will return to federal court to dispose of residual issues.” Loughran, 2
  28   F.4th at 646.
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               PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.346 Page 11 of 21



   1          The Bona Defendants even persist in contending that the form of the District
   2   Court’s order was not a judgment in a separate document because it was a “longer
   3   order that addresses five different filings and recites the procedural history of the
   4   case.” (Mem. at 21.) But the Sixth Circuit panel yet again disagreed, finding—
   5   unanimously—that the “two-page order set out only the motions and responses
   6   thereto, and brief rulings on each,” omitted most judicial reasoning, had a separate
   7   caption, was separately signed by the Court, was separately paginated, and was
   8   separately docketed by the clerk. It was, for all intents and purposes, a separate
   9   judgment, the Sixth Circuit held. Manookian, 2021 WL 688841, at *2.
  10          In short, it is little surprise that the Bona Defendants believe the Sixth
  11   Circuit’s determination was “in significant tension with” the final judgment rule
  12   (Mem. at 19), grouse that the panel failed “even [to] mention any of Bona Law’s
  13   arguments on that point” (Mem. at 20 (emphasis in original)), or view the Sixth
  14   Circuit’s holding as an “unusual position,” (id.). After all, they are the ones who
  15   got it wrong the first time.
  16          C.     Whether the Bona Defendants Exercised Professional Judgment
  17                 in Declining to Appeal Is the Central Dispute in this Case

  18          Regardless, whether the Bona Defendants’ decision not to appeal
  19   constituted a reasonable exercise of skill and care is not for the Bona Defendants to
  20   determine, particularly through the unsworn assertions of counsel in support of a
  21   motion to dismiss. It is also not for the Court to determine, at this stage of the case,
  22   given Mr. Manookian’s well-pleaded allegations of negligence. Discovery will
  23   reveal any conversations or decision-making that preceded the Bona Defendants’
  24   actions, shedding light on what motivated the choice not to appeal. And expert
  25   testimony will establish whether a reasonably prudent lawyer in the Bona
  26   Defendants’ position should have filed a notice of appeal, risking that the Sixth
  27   Circuit might reject it as premature—which would not have ended Mr.
  28   Manookian’s case—or instead assume the February 28, 2020 order was not final
                                                  11
               PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.347 Page 12 of 21



   1   and appealable, risking that the Sixth Circuit might hold otherwise, effectively
   2   ending Mr. Manookian’s case. See Allied Waste N. Am., Inc. v. Lewis, King, Krieg
   3   & Waldrop, P.C., 93 F. Supp. 3d 835, 854 (M.D. Tenn. 2015) (discussing
   4   requirement of expert testimony to establish professional standard of care for
   5   attorneys practicing law in Tennessee).
   6          Other attorneys’ actions in similar circumstances will likewise shed light on
   7   the “degree of care, skill, and diligence commonly possessed and exercised” in the
   8   relevant field and jurisdiction. (Mem. at 18 (quoting Horton v. Hughes, 971 S.W.2d
   9   957, 959 (Tenn. Ct. App. 1998)). When developed, the record will reflect that,
  10   confronted with the same dilemma between the final judgment rule and the
  11   “effectively out of court” exception, other attorneys chose to timely appeal rather
  12   than risking dismissal of an entire action—establishing both the applicable standard
  13   of care the Bona Defendants’ violation thereof.
  14          In Herrera v. City of Palmdale, which the Sixth Circuit relied on in
  15   dismissing the Antitrust Suit, plaintiffs filed a federal lawsuit challenging the city
  16   of Palmdale’s municipal civil inspection warrant and code-violation order,
  17   contending these actions violated 42 U.S.C. § 1983 and the Fair Housing Act. 918
  18   F.3d 1037, 1041-42 (9th Cir. 2019). Almost simultaneously, the city filed a state-
  19   court nuisance action. Citing Younger’s abstention requirement, the federal district
  20   court dismissed the Herreras’ claims for declaratory and injunctive relief and stayed
  21   the claims for damages. The Herreras’ attorney—an apparent solo practitioner
  22   without a public website—evidently realized the need to appeal the order, and
  23   Ninth Circuit rejected Palmdale’s argument that the appeal was premature. It held
  24   that the stay was “effectively a final decision and thus the district court order [was]
  25   final for purposes of appellate review.” Id. at 1043 (citing Parris v. Taft, 630 F.
  26   App’x 895, 898 (11th Cir. 2015) (“Because the district court stayed the case until
  27   Mr. Parris’s related state criminal proceedings were resolved, the order left him
  28
                                                 12
               PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.348 Page 13 of 21



   1   effectively out of court. Thus, the order is a final decision, and we have appellate
   2   jurisdiction.”).
   3          If the Herreras’ attorney, faced with a decision about the time to file a notice
   4   of appeal, could figure out how to protect his clients’ rights while challenging a
   5   district court abstention order, there is no reason the Bona Defendants couldn’t
   6   too—particularly with the benefit of Herrera itself.10
   7          Not only had the Ninth and Eleventh Circuits recently reaffirmed the
   8   “effectively out of court” exception in analogous circumstances before the Bona
   9   Defendants’ “strategic decision” not to appeal the February 28, 2020 order, (Mem.
  10   at 21), but the Sixth Circuit had just weighed in on it too. In Healthcare Co. Ltd.
  11   v. Upward Mobility, Inc., 784 F. App’x 390, 393 (6th Cir. 2019), the Court sua
  12   sponte considered whether it had jurisdiction over an appeal from a dismissal and
  13   stay order on Younger abstention grounds, reasoning that because the state court
  14   order would be res judicata in the federal case, the appellant would be “effectively
  15   out of court,” so jurisdiction was appropriate.
  16          The Bona Defendants now suggest—offering no support, since this action
  17   is at the pleading stage—that they weighed the risks of giving the district court’s
  18   opinion res judicata effect in state court against the risk of losing the entire antitrust
  19   case, and made the “strategic” choice not to appeal. (Mem. at 20-21.) Discovery
  20   will reveal whether and to what degree any such analysis was performed. But at
  21   this stage of the litigation, dismissal is unwarranted based on the Bona Defendants’
  22   mere assertion that they made a strategic choice, and that it was a reasonable
  23   exercise of skill and care. The applicable standard of care—and these defendants’
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  26     Indeed, Herrera was hardly a secret: it was relied on by a Middle District of Tennessee
       opinion discussing Younger abstention while Mr. Manookian’s case was pending in the same
  27   district. See Ingram v. Tennessee Dep’t of Health, No. 3:17-CV-01565, 2019 WL 1429644, at
       *7 (M.D. Tenn. Mar. 29, 2019), report and recommendation adopted as modified, No. 3:17-
  28   CV-01565, 2019 WL 4727641 (M.D. Tenn. Sept. 27, 2019).
                                                     13
               PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.349 Page 14 of 21



   1   compliance with it—must be proved and tested in discovery. Self-serving, after-
   2   the-fact assurances do not afford a basis for dismissal.
   3             D.    Well-Pleaded Allegations Cannot Be Defeated by Disputed
   4                   Matters Outside the Pleadings
   5             Evidently recognizing that the factual allegations of the Complaint state a
   6   claim, at least, for professional negligence, the Bona Defendants’ dismissal effort
   7   relies on a host of matters outside the pleadings, asking the Court to draw ultimate
   8   conclusions about disputed issues regarding the merits of the underlying antitrust
   9   case based on “judicial notice” of the controverted state proceedings and federal
  10   district court orders their own antitrust case was challenging. While the Court may
  11   take judicial notice of the existence of public records, the Bona Defendants may
  12   not use them to advance a self-serving interpretation of the disputed events in this
  13   case—particularly when the Bona Defendants themselves took contrary positions
  14   in the underlying litigation—before Mr. Manookian has an opportunity to prove his
  15   claims.
  16             Federal Rule of Evidence 201 permits courts to take judicial notice of facts
  17   “not subject to reasonable dispute,” including those that are “generally known” or
  18   those that can be “accurately and readily determined from sources whose accuracy
  19   cannot reasonably be questioned.” Fed. R. Evid. 201(b). It is well-settled that a
  20   court “cannot take judicial notice of disputed facts” in public records. Khoja v.
  21   Orexigen Therapeutics, Inc., 899 F.3d 988, 999 (9th Cir. 2018). Nor can defendants
  22   “use the [judicial notice] doctrine to insert their own version of events into the
  23   complaint to defeat otherwise cognizable claims.” Id. at 1002. To the extent a
  24   court takes judicial notice of a public record, it “must also consider—and identify—
  25   which fact or facts it is noticing from such a [record]. Just because the document
  26   itself is susceptible to judicial notice does not mean that every assertion of fact
  27   within that document is judicially noticeable for its truth.” Id. at 999.
  28
                                                  14
                 PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.350 Page 15 of 21



   1          Here, the Bona Defendants do not specify which facts of which they want
   2   the Court to take notice. They merely ask the Court to take notice of a host of
   3   public filings, orders, and a website, all of which they then rely upon to argue—
   4   contravening their prior positions, and drawing inferences in their favor, not Mr.
   5   Manookian’s—that Mr. Manookian’s antitrust loss was a foregone conclusion. But
   6   here, the merits of the state disciplinary proceedings and federal antitrust case are
   7   the facts in dispute. The Court may take notice of the fact of these proceedings, but
   8   not the merits of the underlying disputed issues, much less Defendants’ newfound,
   9   self-serving analysis of them.
  10          To the extent the Court deems it appropriate to take judicial notice of the
  11   seventeen (17) documents filed by the Bona Defendants in support of the Motion
  12   and one document filed the business day before Mr. Manookian’s opposition was
  13   due (Doc. Nos. 5-2 & 14), the Court should likewise take judicial notice of the
  14   legal memoranda filed by the Bona Defendants on Mr. Manookian’s behalf that
  15   contradict their positions in the instant case:
  16             • Memorandum in Support of Plaintiff’s Motion for Temporary
  17                 Restraining Order, filed Oct. 26, 2019, Case No. 3:19-cv-00350
  18                 (M.D. Tenn.) (attached as Ex. 1); and
  19             • Corrected Reply in Support of Plaintiff’s Motion for Preliminary
  20                 Injunction, filed Nov. 18, 2019, Case No. 3:19-cv-00350 (M.D.
  21                 Tenn.) (attached as Ex. 2).
  22   As these briefs make clear, the Bona Defendants continued to maintain—after
  23   the October 11 and 17, 2019 Tennessee Supreme Court orders they now claim
  24   foreclose his case as a matter of law—that Mr. Manookian’s due process and
  25   First Amendment rights were violated when his license was suspended without a
  26   fair prompt adjudication on the merits, reinstatement proceedings were
  27   adjudicated by two panel members with an “irreconcilable and obvious conflict
  28   of interest regarding the outcome of the proceedings,” and repeated efforts to
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               PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.351 Page 16 of 21



   1   suspend Mr. Manookian’s law license constituted unconstitutional retaliation in
   2   violation of his First Amendment rights. See Ex. 1 (Bona TRO Memorandum) at
   3   14-21.
   4          Plaintiffs likewise ask the Court to take judicial notice of the Bona
   5   Defendants’ public statements identified in Section II. See supra n. 1-8.
   6              E.    The Complaint Plausibly Alleges that the Bona Defendants’
   7                    Caused Mr. Manookian’s Damages
   8          After filing Mr. Manookian’s antitrust claims, publicly touting them as
   9   meritorious, Compl., ¶ 21, (discovery will reveal) subsequently encouraging Mr.
  10   Manookian to pursue additional antitrust claims related to his new suspension, a
  11   repeatedly advising him that the February 28, 2020 order was “legally unsound”
  12   and would “be overturned on appeal,” id. ¶ 23, the Bona Defendants now perform
  13   an about-face, insisting that Mr. Manookian’s antitrust claims either lacked merit
  14   all along, (see Mem. at 24 n.6 (describing, without support, the “significant
  15   hurdles” and “inherent difficulty” of the claims), n.7 (characterizing, without
  16   support, his claims as “an uphill battle”)), or “became an unwinnable endeavor”
  17   because of his actions (id. at 24-25, n. 7). But dismissal requires more than the
  18   Bona Defendants’ assurance that the Sixth Circuit “would likely have affirmed the
  19   federal trial court’s motion to dismiss.” Id. at 24. After all, their track record for
  20   predicting Sixth Circuit outcomes speaks for itself.
  21          The Complaint plausibly alleges that as a result of the Bona Defendants’
  22   negligence, “Mr. Manookian’s substantial claims for damages (the merit of which
  23   the Bona Parties attested to in scores of emails, press releases, laudatory articles,
  24   and federally filed pleadings) have been forever waived, lost, and foregone.”
  25   Compl., ¶ 27. It further alleges that the Bona Defendants’ breaches of duties caused
  26   damages to Mr. Manookian in an amount to be determined at trial. Id., ¶¶ 33, 37.
  27   And it alleges that the Bona Defendants themselves repeatedly informed him that
  28   the February 28, 2020 order “would, in the view of the Bona Parties, be overturned
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                PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.352 Page 17 of 21



   1   on appeal.” Id., ¶ 23. This sufficiently alleges that the Bona Defendants caused
   2   Mr. Manookian’s injuries.
   3          The Bona Defendants now contend that Mr. Manookian could not recover
   4   damages from the BPR defendants because a subsequent order of the Tennessee
   5   Supreme Court clarifies that he was suspended “for distinct reasons unrelated to the
   6   allegedly anticompetitive conduct,” rendering him unable to show that the Bona
   7   Defendants’ conduct caused his damages. Mem. at 24 (citing Atl. Richfield Co. v.
   8   USA Petrol. Co., 495 U.S. 328, 334 (1990)). This position cannot be credited as it
   9   is belied by their own contemporaneous statements, after the temporary suspension
  10   was reinstated, in which they continued to vouch for the merits of the appeal.
  11   Compl., ¶ 23.
  12          It is also wrong on the merits for at least three additional reasons. First, the
  13   Bona Defendants’ failure to timely appeal the February 28, 2020 order caused Mr.
  14   Manookian a distinct financial injury independent of the merits of his underlying
  15   antitrust claim: by virtue of being the losing party in an antitrust action, Mr.
  16   Manookian is now subject to claims for attorneys’ fees and costs by each of the
  17   nine defendants in the underlying antitrust case—hardly an insubstantial amount of
  18   damages. See 15 U.S.C. § 4304 (antitrust fee-shifting statute). By failing to timely
  19   appeal the order, the Bona Defendants cemented the BPR defendants’ status as
  20   prevailing party, exposing Mr. Manookian to liability and foreclosing his ability to
  21   negotiate any other resolution to the action.
  22          Second, a reasonable fact-finder here could conclude that had the Bona
  23   Defendants timely appealed the February 28, 2020 order, the Sixth Circuit would
  24   have reinstated Mr. Manookian’s antitrust damages claims and accepted the Bona
  25   Defendants’ related argument—that the temporary suspension was reinstated on
  26   the recommendation of market competitors in violation of Mr. Manookian’s due
  27   process and First Amendment rights—effectively invalidating the reinstated
  28   suspension. See Ex. 1 (Bona TRO Memorandum at 1-2). Finally, accepting for the
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               PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.353 Page 18 of 21



   1   sake of argument the Bona Defendants’ contention that Mr. Manookian cannot
   2   show antitrust injury after his temporary suspension was reinstated, his damages
   3   (subject to trebling) can nonetheless be measured between May 17 and November
   4   17, 2019, a time period not disputed in the Bona Defendants’ damages argument.
   5             Plaintiff plausibly alleges that but for the Bona Defendants’ conduct in
   6   failing to appeal, he would have prevailed—a position the Bona Defendants
   7   themselves took. Compl., ¶ 23. They cannot now disclaim that position just
   8   because it suits them in litigation.11
   9        V.      THE COMPLAINT PLEADS A CLAIM FOR BREACH OF
  10                FIDUCIARY DUTY
  11             Tennessee courts have recognized a claim for breach of fiduciary duty that
  12   is distinct from legal malpractice claim when the former is not wholly duplicative
  13   of the latter. In Allied Waste, a federal district judge in the Middle District of
  14   Tennessee—considering a motion for summary judgment—found that a failure “to
  15   keep plaintiffs reasonably informed about critical decisions in the litigation”
  16   supports a claim for breach of fiduciary duty that is distinct from a legal malpractice
  17   claim. 93 F. Supp. 3d at 860 (collecting relevant authority).
  18             Here, in addition to legal malpractice, the Complaint alleges that Defendants
  19   Codell and Bona “wrote to Brian Manookian falsely and fraudulently
  20   characterizing the Sixth Circuit’s holding in an attempt to evade liability for their
  21
  22   11
          The Bona Defendants’ other causation arguments miss the mark. Mr. Manookian is not akin
  23   to a “guilty criminal defendant” alleging malpractice against his lawyer,” (Mem. at 25 (citing
       an unreported Tennessee case involving a defendant wearing prison garb at trial)). Until
  24   disclaiming that position, the Bona Defendants themselves attested that Mr. Manookian was a
       victim of constitutional and statutory deprivations of his rights. The Bona Defendants’
  25
       contention that Mr. Manookian’s federal constitutional claims are barred by claim and issue
  26   preclusion because he raised them, or could have, in the state-court proceeding and did not
       seek review in the U.S. Supreme Court is similarly unavailing. (Mem. at 26.) This argument
  27   is speculative, lacks development or citation to the record, and ignores the fact that the federal
       claims could have been litigated in federal court in the first instance had the Bona Defendants
  28   not failed to timely file an appeal of the district court’s abstention decision.
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                 PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.354 Page 19 of 21



   1   own negligence and gross recklessness” and that “The Bona Parties additionally
   2   stated that any further attempts to appeal would be futile.” Compl., ¶ 28. This
   3   breached their duty to represent Mr. Manookian with honesty and diligence and
   4   keep him accurately informed about matters in the litigation. Id., ¶ 35; see also
   5   Halstead v. Murray, 130 N.H. 560, 547 A.2d 202 (1988) (stating that if client is not
   6   adequately informed “then the client may have recourse to suit against the attorney
   7   for breach of his fiduciary duty zealously to protect the interest of his client”).
   8   Because Mr. Manookian’s claim for breach of fiduciary duty is not wholly
   9   duplicative of his legal negligence claim, it should not be dismissed at the pleading
  10   stage.
  11       VI.     THE COMPLAINT PLEADS CLAIMS AGAINST BLANQUEZ
  12               AND HASSKAMP
  13            Rule 8’s ordinary notice pleading requirement, not Rule 9(b)’s heighted
  14   requirement, applies to ordinary negligence claims. See Mansour v. Raynor Mktg.,
  15   Ltd., No. CV 13-02085 MMM (EX), 2013 WL 12126093, at *5 (C.D. Cal. July 25,
  16   2013). And “the burden imposed by Rule 8(a)(2) is a minimal one.” Countrywide
  17   Home Loans, Inc. v. U.S. ex rel. I.R.S., No. CVF026405 AWISMS, 2005 WL
  18   1355440, at *3 (E.D. Cal. Apr. 29, 2005). Where “it may be presumed that
  19   Defendants are in sole possession of facts needed to support or refute the claims”
  20   and the Complaint “provides notice to Defendants regarding what information will
  21   be sought from what sources during discovery,” a complaint satisfies Rule 8’s
  22   notice pleading standard. Davis v. Cty. of Riverside, No. EDCV161323JGBKKX,
  23   2016 WL 11595141, at *5 (C.D. Cal. Aug. 18, 2016).
  24            Here, Defendants know far better than Mr. Manookian who took which
  25   actions with respect to the legal decisions made in conjunction with Mr.
  26   Manookian’s case. Nonetheless, the Complaint sets forth detailed allegations of
  27   negligence by the Bona Defendants, all of whom are known to Mr. Manookian to
  28   have been lawyers involved in representing him. The Complaint alleges that Mr.
                                                 19
                 PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.355 Page 20 of 21



   1   Blanquez is a California attorney and Mr. Hasskamp is a Minnesota attorney.
   2   Compl., ¶¶ 11-12. They are among the Bona Parties, and served as principals of,
   3   or agents for, each other defendant. Id., ¶ 13. Each of them either participated
   4   personally in the conduct challenged in the complaint or authorized, acquiesced, set
   5   in motion, or otherwise failed to take necessary steps to prevent the negligence
   6   described in the Complaint. Id., ¶ 14. Where, as here, detailed information about
   7   which attorney played which role in legal decision-making lies in the exclusive
   8   possession of the Bona Defendants, and the Bona Defendants have sufficient notice
   9   about what information will be sought from which sources in discovery, it would
  10   be inefficient and unjust to dismiss Defendants Blanquez and Hasskamp from the
  11   action at the pleading stage.
  12        VII. CONCLUSION
  13          For the foregoing reasons, the Bona Defendants’ Motion to Dismiss should
  14   be denied in its entirety.12
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        In the event the Court determines that the motion should be partially or wholly granted, Mr.
  28   Manookian requests leave to amend the Complaint to cure any deficiencies.
                                                    20
               PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
Case 3:21-cv-00562-WQH-BLM Document 15 Filed 09/13/21 PageID.356 Page 21 of 21



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             PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
